
ENGLAND, Justice.
The Court of Criminal Appeals affirmed the defendant’s conviction, without opinion, on June 19, 1998. Harris v. State, 738 So.2d 945 (Ala.Crim.App.1998) (table). We granted certiorari review. The legal issue presented in this case is the same as that presehted in Ex parte Parker, 740 So.2d 432 (Ala.1999). The judgment of - the Court of Criminal Appeals is reversed and the cause is remanded, based on our holding in Parker, as clarified in Ex parte Formby, 750 So.2d 587 (Ala.1999).
REVERSED AND REMANDED.
HOOPER, C.J., and HOUSTON, COOK, LYONS, and JOHNSTONE, JJ., concur.
BROWN, J., recuses herself.**
